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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

NICHOLAS DeFOSSET,                          )
                                            )
       Plaintiff,                           )
                                            )       CIVIL ACTION
vs.                                         )
                                            )       FILE No. 5:19-cv-527
SIMI’S RESTAURANT, INC.,                    )
and POINTNORTH HWY, LLC,                    )
                                            )
       Defendants.                          )

                                       COMPLAINT

       COMES NOW, NICHOLAS DeFOSSET, by and through the undersigned

counsel, and files this, his Complaint against Defendants SIMI’S RESTAURANT, INC.

and POINTNORTH HWY, LLC, pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part

36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                                      JURISDICTION

       1.       This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendants’ failure to remove physical barriers to access and violations of Title III of the

ADA.

                                          PARTIES

       2.       Plaintiff NICHOLAS DeFOSSET (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in San Antonio, Texas


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(Bexar County).

         3.       Plaintiff is disabled as defined by the ADA.

         4.       Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

         5.       Plaintiff uses a wheelchair for mobility purposes.

         6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. His motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon this Court so an injunction can be issued correcting the numerous ADA

violations on this Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

         7.       Defendant SIMI’S RESTAURANT, INC. (hereinafter “SRI”) is a Domestic

For Profit Corporation that transacts business in the state of Texas and within this judicial

district.

         8.       SRI may be properly served with process via its registered agent for

service, to wit: Priet Pal Sandu, 4535 Fredericksburg Road, #109, San Antonio, Texas

78201.

         9.       Defendant POINTNORTH HWY, LLC (hereinafter “Pointnorth”) is a

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Texas limited liability company that transacts business in the state of Texas and within

this judicial district.

       10.     Pointnorth may be properly served with process via its registered agent for

service, to wit: Joe M. Kboudi, 7300 Blanco Road, San Antonio, Texas 78216.

                                  FACTUAL ALLEGATIONS

       11.     On or about February 7, 2019, Plaintiff was a customer at “Simi’s India

Cuisine,” a business located at 4535 Fredericksburg Road, San Antonio, Texas 78201,

referenced herein as “Simi’s.”

       12.     SRI is the lessee or sub-lessee of the real property and improvements that

are the subject of this action.

       13.     Pointnorth is the owner or co-owner of the real property and improvements

that the Simi’s is situated upon and that is the subject of this action, referenced herein as

the “Property.”

       14.     Plaintiff lives approximately 8 miles from the Simi’s and Property.

       15.     Plaintiff’s access to the business(es) located at 4535 Fredericksburg Road,

San Antonio, Bexar County Property Identification number 358085 (“the Property”),

and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and

until Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Simi’s and Property, including those set forth in this

Complaint.

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       16.      Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in this Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property are made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

       17.      Plaintiff intends to revisit the Simi’s and Property to purchase goods and/or

services.

       18.      Plaintiff travelled to the Simi’s and Property as a customer and as an

independent advocate for the disabled, encountered the barriers to access at the Simi’s

and Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result of the

illegal barriers to access present at the Simi’s and Property.


                                   COUNT I
                       VIOLATIONS OF THE ADA AND ADAAG

       19.      On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       20.      Congress found, among other things, that:

       (i)      some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a
                whole is growing older;

       (ii)     historically, society has tended to isolate and segregate individuals
                with disabilities, and, despite some improvements, such forms of
                discrimination against individuals with disabilities continue to be a

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               serious and pervasive social problem;

       (iii)   discrimination against individuals with disabilities persists in such
               critical areas as employment, housing public accommodations,
               education,        transportation,    communication,        recreation,
               institutionalization, health services, voting, and access to public
               services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, overprotective rules and policies, failure to
               make modifications to existing facilities and practices, exclusionary
               qualification standards and criteria, segregation, and relegation to
               lesser service, programs, activities, benefits, jobs, or other
               opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination
               and prejudice denies people with disabilities the opportunity to
               compete on an equal basis and to pursue those opportunities for
               which our free society is justifiably famous, and costs the United
               States billions of dollars in unnecessary expenses resulting from
               dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       21.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the
               elimination of discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in
               order to address the major areas of discrimination faced day-to-day
               by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).


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       22.    The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       23.    The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       24.    The Simi’s is a public accommodation and service establishment.

       25.    The Property is a public accommodation and service establishment.

       26.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       28.    The Simi’s must be, but is not, in compliance with the ADA and ADAAG.

       29.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       30.    Plaintiff has attempted to, and has to the extent possible, accessed the

Simi’s and the Property in his capacity as a customer of the Simi’s and Property and as an

independent advocate for the disabled, but could not fully do so because of his disabilities

resulting from the physical barriers to access, dangerous conditions and ADA violations

that exist at the Simi’s and Property that preclude and/or limit his access to the Simi’s and

Property and/or the goods, services, facilities, privileges, advantages and/or

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accommodations offered therein, including those barriers, conditions and ADA violations

more specifically set forth in this Complaint.

       31.      Plaintiff intends to visit the Simi’s and Property again in the very near

future as a customer in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Simi’s and Property and as

an independent advocate for the disabled, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA violations

that exist at the Simi’s and Property that preclude and/or limit his access to the Simi’s and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations

more specifically set forth in this Complaint.

       32.      Defendants have discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Simi’s and Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       33.      Defendants will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendants are compelled to remove all physical barriers that

exist at the Simi’s and Property, including those specifically set forth herein, and make

the Simi’s and Property accessible to and usable by Plaintiff and other persons with

disabilities.

       34.      A specific list of unlawful physical barriers, dangerous conditions and

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ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Simi’s and Property and the full and equal enjoyment of

the goods, services, facilities, privileges, advantages and accommodations of the Simi’s

and Property include, but are not limited to:

       (a)      ACCESSIBLE ELEMENTS:

       (i) The ground surfaces of the accessible parking space near Unit 223B have

             vertical rises in excess of ¼ (one quarter) inch in height, are not stable or slip

             resistant, have broken or unstable surfaces or otherwise fail to comply with

             Section 302, 303 and 502.4 of the 2010 ADAAG standards. This violation

             made it dangerous and difficult for Plaintiff to access the units of the Property.

       (ii) The access aisle to the accessible parking space near Unit 223B is not level due

             to the presence of an accessible ramp in the access aisle in violation of section

             502.4 of the 2010 ADAAG standards. This violation made it dangerous and

             difficult for Plaintiff to exit and enter their vehicle while parked at the

             Property.

       (iii)    The Property has an accessible ramp near Unit 223B with vertical rises due

             to a PVC pipe sticking out of the accessible ramp in violation of section 405.4

             of the 2010 ADAAG standards. This violation made it dangerous and difficult

             for Plaintiff to access the units of the Property.

       (iv)     The Property has an accessible ramp leading from the accessible parking

             space near Unit 223B to the accessible entrances with a slope exceeding 1:12



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    in violation of section 405.2 of the 2010 ADAAG standards. This violation

    made it dangerous and difficult for Plaintiff to access the units of the Property.

(v) There is an excessive vertical rise at the top of the accessible ramp near Unit

    223B in violation of Section 303.2 and 405.4 of the 2010 ADAAG

    standards. This violation made it dangerous and difficult for Plaintiff to access

    public features of the Property.

(vi)    Due to a failure implement a proper policy of maintenance, there is sand

    and debris at the base of the accessible ramp near Unit 223B. As a result, the

    ground surfaces of the accessible ramp near Unit 223B are not stable or slip

    resistant, have broken or unstable surfaces or otherwise fail to comply with

    Section 302, 303 and 405.4 of the 2010 ADAAG standards. This violation

    made it dangerous and difficult for Plaintiff to access the units of the Property.

(vii)   There is an accessible parking space in the corner of the Property (near

    units 115, 117, 201 and 205), where there are three accessible parking spaces,

    that are missing a proper identification sign in violation of section 502.6 of the

    2010 ADAAG standards. This violation made it difficult for Plaintiff to locate

    an accessible parking space.

(viii) There is an excessive vertical rise at the base of the accessible ramp, near

    the three accessible parking spaces near units 115, 117, 201 and 205, in

    violation of Section 303.2 and 405.4 of the 2010 ADAAG standards. This

    violation made it dangerous and difficult for Plaintiff to access public features

    of the Property.

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(ix)    The accessible ramp near the three accessible parking spaces near units

    115, 117, 201 and 205 has side flares with a slope in excess of 1:10 in violation

    of section 406.3 of the 2010 ADAAG standards. This violation made it

    dangerous and difficult for Plaintiff to access the units of the Property.

(x) Due to and excessive vertical rise, ranging from one to three inches, leading

    from the accessible ramp near the three accessible parking spaces near units

    115, 117, 201 and 205, the Property lacks an accessible route from these

    accessible parking spaces in violation of section 208.3.1 of the 2010 ADAAG

    standards. This violation made it difficult for Plaintiff to access the units of the

    Property.

(xi)    The Property lacks an accessible route from the accessible parking space

    near Unit 101 to the accessible entrance of the Property in violation of section

    208.3.1 of the 2010 ADAAG standards. This violation made it difficult for

    Plaintiff to access the units of the Property.

(xii)   The to-go/take-out counter in Simi’s is lacking any portion of the counter

    that has a maximum height of 36 (thirty-six) inches from the finished floor in

    violation of section 904.4 of the 2010 ADAAG standards, all portions of the

    to-go/take-out counter exceed 36 (thirty-six) inches in height from the finished

    floor. This violation made it difficult for Plaintiff to properly transact business

    at the Property.

(xiii) Defendants fail to adhere to a policy, practice and procedure to ensure that

    all facilities are readily accessible to and usable by disabled individuals.

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(b)       SIMI’S RESTROOMS:

(i) The door to the restrooms has a maximum clear width below 32 (thirty-two)

      inches in violation of section 404.2.3 of the 2010 ADAAG standards. This

      made it difficult for Plaintiff and/or any disabled individual to safely utilize the

      restroom facilities.

(ii) The restrooms lack signage in compliance with sections 216.8 and 703 of the

      2010 ADAAG standards. This made it difficult for Plaintiff and/or any

      disabled individual to locate accessible restroom facilities.

(iii)     The actionable mechanism of the paper towel dispenser in the restrooms is

      located outside the prescribed vertical reach ranges set forth in section 308.2.1

      of the 2010 ADAAG standards. This made it difficult for Plaintiff and/or any

      disabled individual to safely utilize the restroom facilities.

(iv)      The door exiting the restroom lacks a proper minimum maneuvering

      clearance, due to the proximity of the door hardware to the adjacent wall, in

      violation of section 404.2.4 of the 2010 ADAAG standards. This made it

      difficult for Plaintiff and/or any disabled individual to safely utilize the

      restroom facilities.


(v) Restrooms have a vanity sink with inadequate knee and toe clearance in

      violation of section 306 of the 2010 ADAAG standards. This made it difficult

      for Plaintiff and/or any disabled individual to safely utilize the restroom

      facilities.



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(vi)    The accessible toilet stall door is too narrow (less than 32 inches) and

    violates section 604.8.1.2 of the 2010 ADAAG standards. This made it

    difficult for the Plaintiff and/or any disabled individual to safely utilize the

    restroom facilities.

(vii)   The accessible toilet stall door is not self-closing and violates section

    604.8.2.1 of the 2010 ADAAG standards. This made it difficult for the Plaintiff

    and/or any disabled individual to safely utilize the restroom facilities.

(viii) The accessible toilet stall door swings into the clear floor space required by

    the stall and violates section 604.8.1.2 of the 2010 ADAAG standards. This

    made it difficult for the Plaintiff and/or any disabled individual to safely utilize

    the restroom facilities.

(ix)    The accessible toilet stall lacks the required size and turning clearance as

    required in section 604.8.1.1 of the 2010 ADAAG standards. This violation

    made it difficult for Plaintiff and/or any disabled individual to utilize the

    restroom.

(x) The grab bars/handrails adjacent to the commode are missing and violate

    section 604.5 of the 2010 ADAAG standards. This made it difficult for

    Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

(xi)    There is an unbeveled vertical rise exceeding ½ (one-half) inch at the

    threshold to the door leading to the restrooms in violation of section 404.2.5 of

    the 2010 ADAAG standards. This made it difficult for Plaintiff to safely utilize

    the restroom facilities.

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       35.    The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Simi’s and

Property.

       36.    Plaintiff requires an inspection of Simi’s and Property in order to determine

all of the discriminatory conditions present at the Simi’s and Property in violation of the

ADA.

       37.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

       38.    All of the violations alleged herein are readily achievable to modify to

bring the Simi’s and Property into compliance with the ADA.

       39.    Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Simi’s and Property is readily achievable because

the nature and cost of the modifications are relatively low.

       40.    Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Simi’s and Property is readily achievable because

Defendants have the financial resources to make the necessary modifications.

       41.    Upon information and good faith belief, the Simi’s and Property have been

altered since 2010.

       42.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

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modified to comply with the 1991 ADAAG standards.

      43.    Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendants are required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Simi’s and Property, including those alleged herein.

      44.    Plaintiff’s requested relief serves the public interest.

      45.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendants.

      46.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      47.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendants to

modify the Simi’s and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find SRI in violation of the ADA and ADAAG;

      (b)    That the Court find Pointnorth in violation of the ADA and ADAAG;

      (c)    That the Court issue a permanent injunction enjoining Defendants from

             continuing their discriminatory practices;

      (d)    That the Court issue an Order requiring Defendants to (i) remove the

             physical barriers to access and (ii) alter the subject Simi’s to make it readily

             accessible to and useable by individuals with disabilities to the extent

             required by the ADA;

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(e)   That the Court award Plaintiff his reasonable attorneys' fees, litigation

      expenses and costs; and

(f)   That the Court grant such further relief as deemed just and equitable in light

      of the circumstances.

                                  Dated: March 15, 2019.

                                  Respectfully submitted,

                                  /s/ Dennis R. Kurz
                                  Dennis R. Kurz
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